Case 8:10-cv-00844-DNH-DRH Document 8-3 Filed 11/24/10 Page 1 of 4

EXHIBIT A
Case 8:10-cv-00844-DNH-DRH Document 8-3 Filed 11/24/10 Page 2 of 4

08/13/2010 08:13 FAX 318 9873 2499 OR. NOISAN OFFICE 902/004

§ LEMENT AG

F BACKGROUND. This Settlement Agreement and General Release
("Agreement™) is made by and between April Guilder (“Guilder”) and Delanor,
Kemper & Associates, LLC (“DKA”) On July 13. 2010, Guilder filed a
complaint against DKA in the United States District Court for the Northem
District of New York (8:10-cv-844) alleging that DKA violated the Fair Debt
Collection Practices Act (“FDCPA"). 15 U.S.C, § 1692 er seg while attempting to
cofect a debt fram Plaintiff. DKA denies any wrongdoing. To avoid the
uncertainty of litigation, and without admitting or denying the validity of the
potantial claims and potential defenses that could be asserted by each other,
Guilder and DKA (“Parties”) have-entered into this Agreement.

THEREFORE, jn consideration of the foregoing, and of the promises
contained hervin. the Parties apree as follows:
2. PAYMENT. To resolve this dispute, DKA shall pay to Guilder the total
sum of Four Thousand Two Hundred and Fifty and 00/100 dollars. ($4,250.00).
This sum shall be paid in two installments of $2,125 each by checks made payable
to “Legal Helpers - FOCPA™ and tendered to Guilder’s attorneys at Legal
Helpers. P.C.. 233 S. Wacker Drive, Suite 5150, Chicago, IL 60606 no later than
October 8. 2010 and November 8. 2010 respectively.
3. RELEASE. In exchange for payment us set forth above, Guilder, for

herself and on behall' of her heirs and assigns, does hereby rernise, release and
Case 8:10-cv-00844-DNH-DRH Document 8-3 Filed 11/24/10 Page 3 of 4

03/13/2010 08:13 FAX 518 873 2488 OR. MOISAN OFFICE 003/004

forever discharge DKA, its parent, subsidiary, sister and affiliate companies or
divisions. and their officers, directors, shareholders, members, limited and general
partners, present and former employees, predecessors, successors, assigns,
attorneys. principals. agenis, affiliates and insurers (hereinalter collectively
“Ruleased Partics”) of and {rom all claims of any kind against the Released Parties
which were asserted or could have been asserted from the beginning of the world
lo the date hereol

4. EXECUTION IN COUNTERPARTS. ‘This Agreement may be executed
in counterparts. each with the full force and effect of an original document.
Similarly, a facsimile or copy of this Agreement will carry the same full force and
eltect of the original.

5. ENTIRE AGREEMENT, The Parties agreo and cach represent that each
has read and filly understand the terms of this Agreement. The Parties agree and
represent that no promise, inducement, or agreement not expressed in this
Agvcement has been made by any of the Parties. The Partics agrce and represent
tha’ this Agreenyent contains the entire agreement between ther. and may not be
nodilied or supplemented except by a writing signed by the Parties. The Parties
agrze and represent that the terns of this agreement are contractual and net a mere
Tee’ tal.

6. CONFIDENTIALITY. Guilder agrees that she will not disclose any
information regarding this Agrcement or the substance or subject matter hereof to

uny person, firm, corporation, or other entity, orally or in writing, except as is
Case 8:10-cv-00844-DNH-DRH Document 8-3 Filed 11/24/10 Page 4 of 4

09/13/2010 08:13 FAX 518 873 2499 DR. WOISAN OFFICE (@904/004

necessary to comply with applicable laws and regulations. court orders or other
process oflaw,

7. ENFORCEMENT, The parties agree that shoule either of the Partics filc
a_.action to enforce this agreememt, said party shal! be cr titled to recover
anurncy's fees and costs if said action results in a settlement or judgment in their
favor.

IN WITNESS WHEREOF. the Parties have executed this Agreement as

eat
(

Dae 9 f/f 5

ae

of the dates below.

    
 

Delhnor/Keippzy & A ociates, IL.LC

  

By
Its LARS
Date

a a tine lee SA

 

 

Cy !

 

 

eed a A

 

 
